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                                                   May 19, 2023

Via ECF ONLY
Judge Joanna Seybert
United States District Court
Eastern District of New York
100 Federal Plaza, Courtroom 10330
Central Islip, New York 11722


              Re:    Tasty Brands, LLC v. Avanti Foods Corporation
                     CIVIL DOCKET FOR CASE #: 2:23-cv-00312-JS-LGD

Your Honor:

        We represent Plaintiff, Tasty Brands LLC, in this matter. The parties submit this joint
letter in response to Your Honor’s Order dated May 1, 2023, in which the parties were to set
forth their efforts to settle the case and resolve jurisdictional issues.

       Counsel for the parties have now met several times and exchanged documents.
Negotiations have continued and an offer was made yesterday. We need additional time to
evaluate the offer with our clients and determine whether or not the case can be settled.

       The parties jointly respectfully request an additional three (3) weeks until June 9,
2023 to discuss settlement and the issue of venue and personal jurisdiction (while
continuing the stay Your Honor placed for Defendant to respond to the Complaint). We
believe this will be the final request for more time in which to know whether a settlement is
possible. If not, we would provide an agreed upon briefing schedule for Defendant’s
proposed motion to the Court. Defendant continues to expressly reserve the right to contest
personal jurisdiction.

       We appreciate the Court’s consideration.


                                                   Very truly yours,

                                                   SCHWARTZ, CONROY & HACK, PC

                                                   /s/Robert Hewitt
                                           By:     __________________________
                                                   Robert E.B. Hewitt III
